485 F.2d 1236
    Ida Mae HOLLINGSWORTH et al., Plaintiffs-Appellees-Cross Appellants,v.ILLINOIS CENTRAL GULF RAILROAD COMPANY,Defendant-Appellant-Cross Appellee.FOLLEN WOOD PRESERVING COMPANY, INC.,Plaintiff-Appellee-Cross Appellant,v.ILLINOIS CENTRAL GULF RAILROAD COMPANY,Defendant-Appellant-Cross Appellee.
    No. 73-1956 Summary Calendar.*
    United States Court of Appeals,Fifth Circuit.
    Nov. 7, 1973.
    
      Semmes Luckett, Shed Hill Roberson, Clarksdale, Miss., for defendant-appellant.
      Jack F. Dunbar, Charles M. Merkel, Clarksdale, Miss., Mitchell M. Lundy, Grenada, Miss., for Hollingsworth and others.
      Jon M. Barnwell, Clarksdale, Miss., for Follen.
      Before BELL, GODBOLD and INGRAHAM, Circuit Judges.
      PER CURIAM:
    
    
      1
      This diversity case arising out of a grade crossing collision between a train and a truck was tried to the court without a jury.  The driver of the truck was killed and his wife sued Illinois Central under the Mississippi Wrongful Death Act.  Miss. Code of 1942, Sec. 1453.  The owner of the truck sued for damages to the truck.  Illinois Central counterclaimed for damages to its engine.  The district court made findings of fact and conclusions of law with the result of allowing recovery for the plaintiff wife and the truck owner on the basis of the negligence of Illinois Central but with damages reduced in half on a comparative negligence standard because of the concurring negligence of the truck driver.
    
    
      2
      All parties have appealed.  We have carefully considered the assignments of error.  We affirm as to the appeal and cross-appeals on the findings, conclusions, and opinion of the district court.
    
    
      3
      Affirmed.
    
    
      
        *
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
    
    